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                                                Exhibit 9




                                O F F I C E O F COUNTY ASSESSOR
                         100 JEFFERSON COUNTY PARKWAY GOLDEN, CO 80419-2500




     . Documentation of Use for Agriculture Land
       Classification
       Documents
       Owners claiming agricultural classification for their land must complete and return an agricultural
       affidavit.    The assessor can request additional documentation for further analysis of parcels; however,
       failure of the taxpayer to supply information requested cannot be the sole reason for denying the
       "agricultural land" classification. Additional documentation that may prove helpful in establishing a
       claim for "agricultural land" classification includes:

           1.   IRS Form 1040F (or equivalent)                 ^          ^Wi^^S '
           2.   Leases
           3.   Receipts for services rendered and items purchased relevant to the agricultural operation
           4.   Brand inspection certificates
           5.   Enrollment documents fi-om federal agricultural programs
           6.   Ownership of irrigation water shares
           7.   Well permit that allows for livestock watering                               ^
           8.   Sales invoices of agricultural products or livestock sold


       Use
       Providing documentation that shows the grazing animals satisfy the majority of the below criteria
       provides a strong case for qualifying the land as a ranch.

           9. The animals can be bought and sold, e.g. a brand inspection certificate or a bill of sale is
               provided when transferring ownership of the animal.
           10. The animals are not the property of tlie state of Colorado. A l l wildlife (undomesticated animals)
               are state property and state permission is required to own and confine these species, which are
               typically found in the wild.
           11. Veterinary and other services are provided for the health of the animals.
           12. The animals are confined to the property and shelter may be provided.
           13. The animals are intended to serve humans in some capacity - as food for animal or human
               consumption, for draft, for breeding, for resale or used for profit, such as selling the animal's
               coat.
           14. The animals are identifiable by brands, tags, or tattoos and graze on the land.

        The landowner doesn't need to own the livestock to quality as a ranch; however, the owner of the
        livestock must be engaged in a for profit agricultural endeavor raising the livestock.
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      Physical Review                                                            ii
      Physical inspections may be conducted to substantiate the use as agricultural. The following are
      examples of things that may be considered:

         15. Grazing livestock or recent evidence of grazing activity
         16. Preparation/planting/harvesting/selling crops.
         17. Topography and physical geology of the land
         18. Accessibility                                                           . •;        ? '-   u?
         19. Farm/ranch outbuildings
         20. Agricultural machinery and equipment                                          :'     ' i
         21. Fence, livestock water, irrigation ditches and canals
         22. Evidence of soil conservation practices
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